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                                      UNITED STATES DISTRICT COURT
                                      SOUTHERN DISTRICT OF FLORIDA

                                                          CASE NO.:


  LAZARO MONTERO,

         Plaintiff,

  v.

  AARGON AGENCY, INC, and
  WELLINGTON REGIONAL MEDICAL
  CENTER, LLC,

        Defendants.
  _______________________________________/

                            COMPLAINT AND DEMAND FOR JURY TRIAL
                                 INJUNCTIVE RELIEF SOUGHT

         Plaintiff LAZARO MONTERO (“Plaintiff”) sues Defendant AARGON AGENCY, INC.

  and Defendant WELLINGTON REGIONAL MEDICAL CENTER, LLC (collectively, the

  “Defendants”) for violations of 15 U.S.C §1692 et seq., the Fair Debt Collection Practices Act

  (“FDCPA”), and Fla. Stat. § 559.55 et seq., the Florida Consumer Collection Practices Act

  (“FCCPA”).

                                           JURISDICTION AND VENUE

         1.         Jurisdiction of this Court arises under 15 U.S.C. §1692k(d), 28 U.S.C. § 1331, and

  28 U.S.C. § 1337.

         2.         Supplemental jurisdiction exists for the claims arising under FCCPA pursuant to

  28 U.S.C. §1367.

         3.         Venue in this District is proper because Plaintiff resides here, Defendants transacts

  business here, and the complained conduct of Defendants occurred here.


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                                                            PARTIES

          4.         Plaintiff is a natural person, and a citizen of the State of Florida, residing in Palm

  Beach County, Florida.

          5.         Defendant Aargon Agency, Inc. (“Defendant-DC”) is Nevada corporation, with its

  principal place of business located in Las Vegas, Nevada.

          6.         Defendant-DC engages in interstate commerce by regularly using telephone and

  mail in a business whose principal purpose is the collection of debts.

          7.         At all times material, Defendant-DC was acting as a debt collector in respect to the

  collection of Plaintiff’s debts.

          8.         Defendant Wellington Regional Medical Center, LLC (“Defendant-Creditor”) is a

  Florida limited liability company, with its principal place of business located in West Palm Beach,

  Florida.

          9.         At all times material, Defendant-Creditor was the creditor of the debts Defendant-

  DC sought to collect from Plaintiff.

                                            DEMAND FOR JURY TRIAL

          10.        Plaintiff, respectfully, demands a trial by jury on all counts and issues so triable.

                                              FACTUAL ALLEGATIONS

          11.        On or about May 30, 2018, Plaintiff suffered an accident and related injuries in the

  course and scope of Plaintiff’s employment that required medical treatment and/or services (the

  “Medical Services”).

          12.        A portion of the required Medical Services were provided by Defendant-Creditor.

          13.        At the time Defendant-Creditor provided and/or rendered its (Defendant-

  Creditor’s) respective Medical Services to Plaintiff, Plaintiff informed Defendant-Creditor that the

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  injuries for which Plaintiff required medical treatment and/or services, i.e., the Medical Services,

  were due to an accident and subsequent injuries that occurred within the course and scope of

  Plaintiff’s employment.

           14.     Defendant-Creditor charged a fee for the provision of its (Defendant-Creditor’s)

  respective Medical Services (the “Consumer Debt”).

           15.     The Consumer Debt arose from Plaintiff’s work-related accident and injuries.

           16.     On a date better known by Defendant-DC, Defendant-DC began attempting to

  collect the Consumer Debt from Plaintiff.

           17.     Defendant-DC is a business entity engaged in the business of soliciting consumer

  debts for collection.

           18.     Defendant-DC is a business entity engaged in the business of collecting consumer

  debts.

           19.     Defendant-DC regularly collects or attempts to collect, directly or indirectly, debts

  owed or due or asserted to be owed or due another.

           20.     Defendant-DC is registered with the Florida Office of Financial Regulation as a

  “Consumer Collection Agency.”

           21.     Defendant-DC’s “Consumer Collection Agency” license number is CCA0900955.

           22.     Defendant-DC maintains all the records specified in Rule 69V-180.080, Florida

  Administrative Code.

           23.     The records specified by Rule 69V-180.080, Florida Administrative Code, of which

  Defendant-DC does maintain, are current to within one week of the current date.




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          24.     On a date better known to Defendant-DC, Defendant-DC sent a collection letter,

  internally dated September 11, 2019, to Plaintiff (the “Collection Letter”) in an attempt to collect

  the Consumer Debt. A copy of the Collection Letter is attached hereto as Exhibit “A.”

          25.     The Collection Letter is a communication from Defendant-DC to Plaintiff in

  connection with the collection of a debt.

          26.     The Collection Letter represents an action to collect a debt by Defendant-DC.

                                          COUNT I.
                          VIOLATION OF 15 U.S.C. § 1692e & § 1692e(2)(A)
                                    (against Defendant-DC)

          27.     Plaintiff incorporates by reference paragraphs 1-26 of this Complaint as though

  fully stated herein.

          28.     Pursuant to Fla. Stat. § 440.13(2)(a), an injured employee is entitled to “such

  medically necessary remedial treatment, care, and attendance for such period as the nature of the

  injury or the process of the recovery may require….”

          29.     Pursuant to Fla. Stat. § 440.13(13)(a), “[a] health care provider may not collect or

  receive a fee from an injured employee within this state, except as otherwise provided by this

  chapter. Such providers have recourse against the employee or carrier for payment for services

  rendered in accordance with this chapter.”

          30.     An employee is shielded from liability in any dispute between the employer or

  carrier and health care provider regarding reimbursement for the employee’s authorized medical

  or psychological treatment. See generally Fla. Stat. § 440.13.

          31.     Section 1692e of the FDCPA prohibits the use of “false, deceptive, or misleading

  representation or means in connection with the collection of any debt.” 15 U.S.C. §1692e. The

  sixteen subsections of §1692e set forth a non-exhaustive list of practices that fall within this ban,

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  including, but not limited to: “[t]he false representation of the character, amount, or legal status

  of any debt.” 15 U.S.C. 1692e(2)(A). (emphasis added).

          32.     As stated above, Defendant-DC mailed the Collection Letter to Plaintiff in an

  attempt to collect the Consumer Debt. The Collection Letter, however, causes the least

  sophisticated consumer to believe that he or she is otherwise responsible for the repayment of the

  Consumer Debt. Here, Plaintiff is not liable or otherwise responsible for the payment of the

  medical services rendered by Defendant-Creditor, as such medical services were rendered to

  Plaintiff as a result of a work-related injury sustained by Plaintiff.

          33.     As such, by mailing the Collection Letter to Plaintiff in an attempt to collect the

  Consumer Debt, Defendant-DC falsely misrepresented Plaintiff’s obligation with respect to the

  Consumer Debt. For example, by and through the Collection Letter, Defendant-DC wrongfully

  causes the least sophisticated consumer to falsely believe that he or she was responsible for the

  repayment of the Consumer Debt.

          34.     Thus, in light of the above, Defendant-DC violated § 1692e and § 1692e(2)(A) of

  the FDCPA by mailing the Collection Letter to Plaintiff in an attempt to collect the Consumer

  Debt.

          35.     WHEREFORE, Plaintiff, respectfully, requests this Court to enter a judgment

  against Defendant-DC, awarding Plaintiff the following relief:

                  (a)       Statutory damages as provided by 15 U.S.C. §1692k;

                  (b)       Costs and reasonable attorneys’ fees pursuant to 15 U.S.C. §1692k; and

                  (c)       Any other relief that this Court deems appropriate under the circumstances.

                                             COUNT II.
                                 VIOLATION OF FLA. STAT. § 559.72(9)
                                       (against Defendant-DC)

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          36.     Plaintiff incorporates by reference paragraphs 1-26 of this Complaint as though

  fully stated herein.

          37.     Pursuant to Fla. Stat. § 440.13(2)(a), an injured employee is entitled to “such

  medically necessary remedial treatment, care, and attendance for such period as the nature of the

  injury or the process of the recovery may require….”

          38.     Pursuant to Fla. Stat. § 440.13(13)(a), “[a] health care provider may not collect or

  receive a fee from an injured employee within this state, except as otherwise provided by this

  chapter. Such providers have recourse against the employee or carrier for payment for services

  rendered in accordance with this chapter.”

          39.     An employee is shielded from liability in any dispute between the employer or

  carrier and health care provider regarding reimbursement for the employee’s authorized medical

  or psychological treatment. See generally Fla. Stat. § 440.13.

          40.     Pursuant to § 559.72(9) of the FCCPA, in collecting consumer debts, no person

  shall: “[c]laim, attempt, or threaten to enforce a debt when such person knows that the debt is not

  legitimate, or assert the existence of some other legal right when such person knows that the right

  does not exist.” Fla Stat. § 559.72(9) (emphasis added).

          41.     Here, Defendant-DC knew that the Consumer Debt was the result of an accident

  and injuries sustained by Plaintiff in the course and scope of Plaintiff’s employment. Moreover,

  Defendant-DC knew Defendant-Creditor could not collect or receive a fee from an injured

  employee within the state of Florida except as otherwise explicitly permitted by Florida statute,

  and Defendant-DC knew that an employee is shielded from liability in any dispute between the

  employer or carrier and health care provider regarding reimbursement for the employee’s

  authorized medical or psychological treatment.

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          42.     Despite knowing that Defendant-Creditor did not have any entitlement or authority

  to collect the Consumer Debt from Plaintiff directly, Defendant-DC mailed the Collection Letter

  to Plaintiff in an attempt to collect the Consumer Debt. Thus, in light of the above, Defendant-DC

  violated § 559.72(9) of the FCCPA by mailing the Collection Letter to Plaintiff.

          43.     WHEREFORE, Plaintiff, respectfully, requests this Court to enter a judgment

  against Defendant-DC, awarding Plaintiff the following relief:

                  (a)       Statutory damages as provided under Fla. Stat. §559.77(2);

                  (b)       An injunction prohibiting Defendant-DC from engaging in further
                            collection activities directed at Plaintiff that are in violation of the FCCPA;

                  (c)       Costs and reasonable attorneys’ fees pursuant to Fla. Stat. §559.77(2); and

                  (d)       Any other relief that this Court deems appropriate under the circumstances.

                                              COUNT III.
                                 VIOLATION OF FLA. STAT. § 559.72(5)
                                      (against Defendant-Creditor)

          44.     Plaintiff incorporates by reference paragraphs 1-26 of this Complaint as though

  fully stated herein.

          45.     Pursuant to Fla. Stat. § 440.13(2)(a), an injured employee is entitled to “such

  medically necessary remedial treatment, care, and attendance for such period as the nature of the

  injury or the process of the recovery may require….”

          46.     Pursuant to Fla. Stat. § 440.13(13)(a), “[a] health care provider may not collect or

  receive a fee from an injured employee within this state, except as otherwise provided by this

  chapter. Such providers have recourse against the employee or carrier for payment for services

  rendered in accordance with this chapter.”




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         47.      An employee is shielded from liability in any dispute between the employer or

  carrier and health care provider regarding reimbursement for the employee’s authorized medical

  or psychological treatment. See generally Fla. Stat. § 440.13.

         48.      Pursuant to § 559.72(5) of the FCCPA, in collecting consumer debts, no person

  shall: “[d]isclose to a person other than the debtor or her or his family information affecting the

  debtor’s reputation, whether or not for credit worthiness, with knowledge or reason to know that

  the other person does not have a legitimate business need for the information or that the

  information is false.” Fla Stat. § 559.72(5) (emphasis added).

         49.      As stated above, the Consumer Debt is the result of an accident and injuries

  sustained by Plaintiff in the course and scope of Plaintiff’s employment. Defendant-Creditor knew

  that Plaintiff’s injuries were the result an accident and injuries sustained by Plaintiff in the course

  and scope of his employment, as such information as relayed to Defendant-Creditor at the time

  Defendant-Creditor provided and/or rendered its (Defendant-Creditor’s) respective Medical

  Services to Plaintiff. As such, Defendant-Creditor knew that it (Defendant-Creditor) could not

  collect or receive a fee from an injured employee within the state of Florida, and Defendant-

  Creditor knew that an employee is shielded from liability in any dispute between the employer or

  carrier and health care provider regarding reimbursement for the employee’s authorized medical

  or psychological treatment.

         50.      Despite knowing that it (Defendant-Creditor) did not have any entitlement or

  authority to collect the Consumer Debt from Plaintiff, Defendant-Creditor, nevertheless, referred

  the collection of the Consumer Debt to Defendant-DC. In so doing, Defendant-Creditor knowingly

  disclosed to Defendant-DC information affecting Plaintiff’s reputation that Defendant-DC did not

  have a legitimate business need for and/or information that was false.

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         51.      Thus, in light of the above, Defendant-Creditor violated § 559.72(5) of the FCCPA

  by referring the collection of the Consumer Debt to Defendant-DC for collection.

         52.      WHEREFORE, Plaintiff, respectfully, requests this Court to enter a judgment

  against Defendant-Creditor, awarding Plaintiff the following relief:

                  (a)       Statutory damages as provided under Fla. Stat. §559.77(2);

                  (b)       An injunction prohibiting Defendant-Creditor from engaging in further
                            collection activities directed at Plaintiff that are in violation of the FCCPA;

                  (c)       Costs and reasonable attorneys’ fees pursuant to Fla. Stat. §559.77(2); and

                  (d)       Any other relief that this Court deems appropriate under the circumstances.

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        DATED: November 6, 2019

                                                              Respectfully Submitted,

                                                               /s/ Jibrael S. Hindi                                   .
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